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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

Access Living of Metropolitan Chicago,              )
                                                    )
                      Plaintiff                     )
                                                    )
v.                                                  )       Case No. 15-cv-2085
                                                    )
North Star Trust Company, Successor Trustee         )
to MB Financial Bank, NA as Trustee under           )
Trust Agreement dated November 18, 2003,            )
and known as Trust Number 3336; and                 )
M&B Domalex Holdings                                )
                                                    )
                      Defendants                    )
                                                    )


                  STIPULATION FOR DISMISSAL WITH PREJUDICE

       It is hereby stipulated by and between plaintiff Access Living of Metropolitan Chicago

and defendants that this case is hereby dismissed with prejudice.

       This Stipulation for Dismissal with Prejudice of All Claims and Parties is based on Rule

41(a)(1) of the Federal Rules of Civil Procedure, and has been signed by counsel for all parties

who have made an appearance herein. Each party is to bear its own attorneys’ fees and costs.

Dated: September 14, 2015

Respectfully submitted,



/s/ Casey Fronk___________________                /s/ Jenifer H. Caracciolo __________
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Attorneys for the Plaintiff
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                                CERTIFICATE OF SERVICE

       I, Casey R. Fronk, hereby certify that on September 14, 2015, I caused a copy of the

foregoing to be served by filing the foregoing electronically through the CM/ECF system, which

caused a Notice of Electronic Filing to the parties registered to the Court’s CM/ECF system for

this action, and by electronic mail upon the following counsel of record for Defendants:

       Jenifer H. Caracciolo
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                                             /s/ Casey Fronk_________
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